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                                #:52568


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 4
                        UNITED STATES DISTRICT COURT
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                      CENTRAL DISTRICT OF CALIFORNIA
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 7   IN RE: NATIONAL FOOTBALL              Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
 8   ANTITRUST LITIGATION                  [PROPOSED] ORDER RE
                                           PLAINTIFFS’ APPLICATION
 9   THIS DOCUMENT RELATES TO              UNDER LOCAL RULE 79-5 TO
     ALL ACTIONS                           FILE DOCUMENTS UNDER SEAL
10
                                           JUDGE: Hon. Philip S. Gutierrez
11                                         TRIAL DATE: June 5, 2024
                                           COURTROOM:
12                                          First Street Courthouse
                                            350 West 1st Street
13                                          Courtroom 6A
                                            Los Angeles, CA 90012
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 1           Pending before the Court is Plaintiffs’ Application Under Local Rule 79-5 to
 2   File Documents Under Seal. The Court has considered the application and GRANTS
 3   the application.
 4           IT IS HEREBY ORDERED that the following documents are to be filed under
 5   seal:
 6              1. The unredacted version of Plaintiffs’ Motion to Admit Exhibits
 7                 Discussed by Dr. Rascher During His Trial Testimony;
 8              2. Exhibit C.
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             IT IS SO ORDERED.
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     Dated: ___________________                    ______________________________
13                                                 PHILIP S. GUTIERREZ
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                                                   United States District Judge

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